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Case 2:10-cr-00722-SRC             Document 86          Filed 05/25/11        Page 1 of 1 PageID: 354




                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

                               UNITED STATES w. STEVIE BIiCkFSE
                                   SB! No.: 9812908,          76
                  PETITION FOR WRIT OF HABEAS CORPUS

 1. STEVIE BUCKUSE, SB! No.: 9812908,                      i76 is now confined at the Essex County
 Correctional Facility, 356 Doremus Avenue. Newark. NJ 07105.

 2. This individual is a defendant in a federal case and will be required at Newark, New Jersey before the
 Hon. Stanley Chesler, on Thursday, June 2,2011 at 12:30 p.m. for motions hearing. A Writ of Habeas
 Corpus should be issued for that purpose.
 DATED: May 25, 2011                                       5:/RODNEY VILLAZOR
                                                           Rodney C. Villazor
                                                           Assistant U.S. Attorney
                                                           Petitioner 973-645-2823
                                                                      -




                                                ORDER


                             /1
             /                                             Hon. Stanley R. Chesler
                               WRIT OF HABEAS CORPUS

 The United States of America to Warden of the Essex County Correctional Facility:
 WE COMMAND YOU that you have the body of:

                     STE VIE BUCKUSE, SB! No.: 981290B , D.C

 now confined at the Essex County Correctional Facility, on Thursday, June 2, 2011 at 12:00 p.m. be
 brought before the United States District Court, the Hon. Stanley R. Chesler, U.S. District Judge,
 in the U.S. Postoffice and Federal Courthouse, 2 Federal Square, Newark, New Jersey 07102 on
 Thursday, June 2, 2011 at 12:30 p.m., so that he may appear for motions hearing in the above-
 captioned matter.

                 WITNESS the Honorable Stanley R. Chesler
                 United States District Judge
                 Newark, New Jersey.


 DATED: 4 /2 // /                                 WILLIAM T. WALSH
            7
            ji7
                              /                   Clerk of the U.S. District Court
                                                  for the Ditrict of New Jersey

                                                  Per
                                                                    Depur’7Clerk
